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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )           CASE NO. 8:14CR363
                                          )
                  Plaintiff,              )
                                          )
     vs.                                  )                  JUDGMENT
                                          )
REYNALDO URBINA-SOTRES,                   )
                                          )
                  Defendant.              )

     In accordance with the accompanying Memorandum and Order,

     IT IS ORDERED:

     1.    The Defendant Reynaldo Urbina-Sortres’s Motion to Vacate under 28 U.S.C.

           2255 (Filing No. 259) is denied; and

     2.    The Clerk is directed to mail a copy of this Judgment to the Defendant at his

           last known address.

     DATED this 29th day of November, 2016.

                                              BY THE COURT:


                                              s/Laurie Smith Camp
                                              Chief United States District Judge
